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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
                                                  COMPLAINT
        Plaintiff,

                v.
                                               22 Civ. _____ (____)
META PLATFORMS, INC., f/k/a
FACEBOOK, INC.,
                                               Jury Trial Demanded
        Defendant.
                                         INTRODUCTION

       1.      The United States of America brings this action against Meta Platforms, Inc., f/k/a

Facebook, Inc. (“Facebook”) to enforce the Fair Housing Act (“FHA”), 42 U.S.C. §§ 3601-3619,

which prohibits discrimination in housing, including housing-related advertising, on the basis of

race, color, religion, sex, disability, familial status, and national origin (collectively, “FHA-

protected characteristics”). For years, Facebook has discriminated against its users on the basis

of these FHA-protected characteristics in its delivery of housing advertisements (“ads”).

       2.      As alleged more fully below, Facebook has discriminated in violation of the FHA

in at least three aspects of the ad delivery system Facebook designed and provides to advertisers:

(1) Trait-Based Targeting—encouraging advertisers to target ads by including or excluding

Facebook users based on FHA-protected characteristics that Facebook, through its data

collection and analysis, attributes to those users; (2) “Lookalike” Targeting—designing,

maintaining, applying, and making available to advertisers a machine-learning algorithm to find

users who “look like” an advertiser’s “source audience” based in part upon FHA-protected

characteristics, through a Facebook tool previously called “Lookalike Audience” and now known

as “Special Ad Audience”; and (3) Delivery Determinations—designing, maintaining, and

applying machine-learning algorithms (“Personalization Algorithms”) to help determine which

subset of the advertiser’s targeted audience (the “Eligible Audience”) will actually receive the ad

(the “Actual Audience”), based in part upon FHA-protected characteristics. By creating

targeting tools to define the “Eligible Audience” in part by FHA-protected characteristics,

Facebook enabled advertisers to categorically exclude protected groups from even being

considered eligible to receive certain housing ads. By designing, maintaining, applying, and



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making available to advertisers an algorithm that finds users who “look like” an advertiser’s

source audience based in part on FHA-protected characteristics, Facebook continues to exclude

users from receiving certain housing ads based on users’ FHA-protected characteristics. And by

designing, maintaining, and applying algorithms that use FHA-protected characteristics to help

determine who from the Eligible Audience actually receives housing ads, Facebook continues to

exclude even “eligible” users from receiving information about housing opportunities.

       3.      First, until at least 2019, Facebook enabled and encouraged advertisers—

including advertisers proposing housing-related ads covered by the FHA—to use Facebook-

created categories of characteristics to target to or to exclude Facebook users from the Eligible

Audience for an ad. Some of those Facebook-created categories were based on users’ FHA-

protected characteristics or on characteristics that are proxies for, or closely related to, FHA-

protected categories. Facebook made some changes to this aspect of its ad delivery system in

September 2019 as part of settling FHA claims brought by civil rights groups in this Court. See

National Fair Housing Alliance, et al. v. Facebook, Inc., 18 Civ. 02689 (JGK) (S.D.N.Y.)

(“NFHA Lawsuit”).

       4.      Second, Facebook invites advertisers to use its proprietary tool called “Lookalike

Audiences.” Facebook employs a machine-learning algorithm to analyze an advertiser’s own

identified audience, the “source audience,” and create a “Lookalike Audience” of additional

Facebook users who Facebook determines have demographics, interests, or other characteristics

in common with an advertiser’s source audience. Using the algorithm, Facebook identifies users

who it determines most “look like” the source audience as potential targets to receive the ad and

excludes users who it determines are not similar enough to the advertiser’s “source audience,”

which is explained more fully below. Until at least 2019 for housing advertisements, Facebook



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identified “lookalike” users by considering FHA-protected characteristics like users’ self-

reported sex and religion in its Lookalike Audience tool to help determine whether a user

“looked like” the advertiser’s source audience. In 2019, Facebook modified this tool for housing

ads by limiting the data that the machine-learning algorithm can use, but even the modified tool

continues to construct Lookalike Audiences for housing ads based in part upon FHA-protected

characteristics, including but not limited to sex.

       5.      Third, Facebook discriminates against users on the basis of FHA-protected

characteristics through the design, maintenance, and application of its Personalization

Algorithms. Facebook uses the Personalization Algorithms as part of deciding which subset of

an advertiser’s Eligible Audience will actually receive an ad. Specifically, Facebook designed

and implemented its Personalization Algorithms to predict which Facebook users will be most

likely to click on, or otherwise interact with, an ad. That prediction significantly affects whether

a user will see an ad. To make that prediction, Facebook provides the Personalization

Algorithms with Facebook’s massive trove of user data containing, encoding, or reflecting users’

protected characteristics (or information closely related to, or proxies for, those characteristics).

When an FHA-protected characteristic is predictive of user engagement with certain ads,

Facebook’s Personalization Algorithms are designed to determine relevance based, in part, on

that characteristic. Facebook’s use of these algorithms also has an unlawful disparate impact on

users by disproportionately steering certain housing ads away from users because of FHA-

protected characteristics such as race.

       6.      It has been widely known—including at Facebook—that machine-learning

processes like the Personalization Algorithms are susceptible to taking actions or producing

effects that are unlawful when deployed in areas covered by the FHA or other civil rights laws.



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Despite that awareness, Facebook designed and has maintained its ad delivery system in a way

that produces discriminatory outcomes, and Facebook has failed to adequately identify, avoid,

mitigate, or cure the discriminatory outcomes of its system.

       7.      The United States files this action pursuant to 42 U.S.C. § 3612(o) following an

investigation and charge of discrimination by the U.S. Department of Housing and Urban

Development (“HUD”), and an election by Facebook to proceed in federal district court.

       8.      The United States also brings this action under 42 U.S.C. § 3614(a) because

Facebook, through its ad delivery system, has engaged in a pattern or practice of prohibited

discrimination. Facebook’s ad delivery system also has denied rights to a group of persons and

such denial raises an issue of general public importance under 42 U.S.C. § 3614(a).

                                         DEFENDANT

       9.      Facebook is a social media company incorporated in Delaware that has its

corporate headquarters in Menlo Park, California, and an office in New York City.

       10.     Facebook operates a number of web- and mobile-device-based platforms through

which users can share information about themselves and on which users can view content

(including advertisements) arranged or chosen for the user by Facebook.

       11.     Facebook, through its advertising system, enables advertisers to create audiences

for their ads, and then Facebook delivers ads to users on its platforms and on Facebook-owned

mobile applications (“apps”), such as Facebook, Instagram, and Messenger, as well as third-party

apps enrolled in Facebook’s Audience Network.




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                                   JURISDICTION AND VENUE

           12.   This Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

and 28 U.S.C. § 1345 because it arises under the laws of the United States and the United States

brings this case as a plaintiff.

           13.   Venue is proper in this Court under 28 U.S.C. § 1391(a)-(b) because Facebook

conducts business and delivers ads for housing and related services to millions of Facebook users

within this judicial district.

                                   FACTUAL ALLEGATIONS

I.         Facebook’s Ad Delivery System

           A.    Background

           14.   Facebook has over 223 million monthly active users in the United States.

           15.   Facebook’s website and apps allow anyone willing to provide their full name, sex

(or preferred gender pronoun), cellphone number or email address, and birthday to create a user

profile.

           16.   Facebook users can find other users—e.g., individuals, businesses, or other

entities—and designate them as “friends,” which allows users to more easily see each other’s

information, including news stories and videos.

           17.   Facebook users also can join “Facebook Groups,” which encourages users to

share content related to a particular subject with other users who have joined that group.

           18.   Facebook delivers ads to its users in a variety of ways, one of which is a user’s

“News Feed.” Upon logging into Facebook, a user first sees a personalized “News Feed” page,

which shows material that the user or the user’s friends have posted to Facebook.




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       19.      Ads from different vendors, including housing-related ads, are interspersed

within the News Feed. As a user scrolls up or down the News Feed, Facebook chooses and

periodically places ads among or alongside content posted by the user’s friends.

       20.     Advertising to users is the core of Facebook’s business model. In 2021 Facebook

received approximately $114.9 billion in revenue from advertising.

       21.     Facebook generates revenue by designing and using various tools to target ads to

Facebook users and then delivering ads to users that Facebook’s Personalization Algorithms

predict will find the ads relevant.

       22.     Facebook claims that it excels at matching ads to particular users through ad-

targeting criteria and by predicting which users will find an ad most relevant. Facebook is able

to tout its skill to target ads to users because of two things: (1) the vast amount of information

Facebook collects and infers about users’ characteristics, up-to-date interests, and similarities or

connections with other users; and (2) Facebook’s Personalization Algorithms, which allow

Facebook to steer ads toward users it predicts, based on its vast amount of data, are most likely to

engage with the ad.

       B.      Facebook’s Collection of User Data

       23.     Facebook uses data it has collected and inferred about its users to attribute

particular behaviors, interests, and demographics to those users. Facebook collects this data

from several sources, including (1) information users must provide when signing up to use

Facebook, (2) user profiles, (3) users’ memberships in Facebook Groups, (4) users’ creation of

an “avatar” of themselves, (5) users’ activity on Facebook, (6) users’ activity elsewhere,

including offline activity, and (7) similar information about users’ “friends” on Facebook or

Facebook-owned platforms. Each of these sources of user data is explained in greater detail in



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Paragraphs 24 through 33 of this Complaint. As explained below, Facebook uses its vast amount

of user data to classify the entire universe of its users into various categories—including by

demographics, interests, and other characteristics—and then uses those classifications as a key

element of its ad delivery system.

       24.     When individuals sign up for a Facebook account they must reveal their sex (or

preferred gender pronouns) as a condition of accessing the site. Thus, from the first interaction

with its users, Facebook has data about users’ sex (or preferred gender pronoun), and Facebook

uses that information as part of its ad delivery system.

       25.     Facebook also invites and encourages users to provide additional information in

their Facebook profile, including, for example, a profile photo, religious views or affiliation,

family members, and relationship status. Facebook uses this profile information in its ad

delivery system.

       26.     Facebook also collects information about users’ membership in user-created

Facebook Groups. The names of some of these groups refer directly to characteristics protected

under the FHA, including race and gender (e.g., “Single Black Mothers” or “Asian Single

Women”), national origin (e.g., “United Latino Professionals”), religion (e.g., “Jewish

Americans” or “United Muslims”), familial status (e.g., “Mothers of Young Children” or

“Parents with Toddlers Support Group”), and disability (e.g., “Parents in Wheelchairs” or

“Person with Disability (PWD)”). Facebook uses information about users’ membership in

Facebook Groups as part of its ad delivery system.

       27.     Facebook also invites and encourages Facebook users to create their “avatar,”

selecting their skin color, eye shape, nose and lip shapes, and hair type or style. The following

images from Facebook’s website show how the avatar creation works.



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       28.     When the user is selecting the shape of the user’s eyes, nose, and lips through the

Facebook app, Facebook invites the user to open a “mirror” to display a feed from the user’s

device’s front camera next to the avatar to help the user pick the best-matching facial features.

For example:




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       29.     This information concerning the user’s physical appearance becomes part of

Facebook’s enormous set of user data.

       30.     Facebook collects information about users’ activity on Facebook and other

Facebook-owned platforms, including Instagram, Messenger, and WhatsApp, including which

accounts users follow or visit, and what content each user “likes” or shares with other users.

Facebook uses information about users’ activity on its platforms as part of its ad delivery system.

       31.     Facebook collects information about users’ online activity on websites or apps

that are not owned by Facebook, including the content the user visited or “liked.” Facebook uses

information about users’ activity on other websites or apps as part of its ad delivery system.

       32.     Facebook also collects information about users’ offline activity, such as geo-

location data and purchases at or visits to brick-and-mortar stores, restaurants, or events.

Facebook uses information about this offline activity as part of its ad delivery system.

       33.     Facebook’s design as a social network means that Facebook’s collection of data

about each particular user includes information about the user’s connected “friends,” those

individuals’ sex (or preferred gender pronouns), user profiles, memberships in Facebook Groups,


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“avatar” of themselves, activity on Facebook and other Facebook-owned platforms, activity

elsewhere online, and data about offline activity. Facebook uses information about users’

“friends” and connections as part of its ad delivery system.

       C.       Facebook’s Analysis of User Data to Create and Deploy Its Advertising Tools

       34.      Using the vast amounts of data it has about its users, Facebook uses machine

learning to create, maintain, and provide a curated list of demographics, interests, and other

characteristics for advertisers to choose from in targeting an ad. Facebook encourages

advertisers to use its categories, asserting that they allow advertisers to identify the users most

likely to find a given ad relevant. The available options, which Facebook changes as it sees fit,

include categories that constitute FHA-protected characteristics or are proxies for or closely

related to such characteristics.

       35.      For example, Facebook makes users’ sex—an FHA-protected characteristic—

available to advertisers for ad targeting. And, until 2019, advertisers with housing-related ads

were allowed to use that targeting feature, including to exclude users from an ad’s Eligible

Audience based on sex.

       36.      Facebook’s classifications of users for the purpose of targeting and delivering ads

also include categories that explicitly refer to users’ familial status,1 another FHA-protected




       1
           The FHA defines “familial status” as:

            one or more individuals (who have not attained the age of 18 years) being
            domiciled with — (1) a parent or another person having legal custody of
            such individual or individuals; or (2) the designee of such parent or other
            person having such custody, with the written permission of such parent or
            other person. The protections afforded against discrimination on the basis of
            familial status shall apply to any person who is pregnant or is in the process



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characteristic. Among the Facebook-created classifications that reveal users’ familial status are:

“parents with toddlers (01-02 years),” “New Moms,” “parents with preschoolers (03-05 years),”

“Moms of preschool kids,” “parents with early school-age children (06-08 years),” “Moms of

grade school kids,” “parents with preteens (08-12),” “parents with teenagers (13-18),” “Moms of

high school kids,” and “Moms of high school students.”

        37.       Facebook’s classifications of users for the purpose of targeting and delivering ads

include, or have included in the recent past, categories that are either proxies for, or closely

related to, additional FHA-protected characteristics, including race, national origin, religion, and

disability.

        38.       For example, Facebook has classified some of its users by what it characterizes as

their “multicultural affinity,” which Facebook previously called “ethnic affinity.” Facebook has

created and deployed six “multicultural affinity” classifications: “African American (US),”

“Asian American (US),” “Hispanic (US—All),” “Hispanic (US—Bilingual: English and

Spanish),” “Hispanic (US—English Dominant),” and “Hispanic (US—Spanish dominant).”

Facebook has touted the use of its “multicultural affinity” feature as an effective way to target

ads to people of specific races or ethnicities.

        39.       Facebook also categorizes some of its users as having an “interest” in particular

religions or religious topics, including “Judaism,” “Orthodox Judaism,” “Jewish culture,”

“Jewish holidays, “Islam,” “Shia Islam,” “Sunni Islam,” “Islamic theology,” “Christian,”

“Catholicism,” or “Hinduism.”




              of securing legal custody of any individual who has not attained the age of
              18 years.

        42 U.S.C. § 3602(k).
                                                   12
        40.        Moreover, Facebook classifies some of its users as having an “interest” in various

disability-related topics or groups, including “Guide Dogs for the Blind,” “service animal,”

“special education,” “Wheelchair ramp,” “American Sign Language,” “Autistic Self Advocacy

Network,” “Disabled American Veteran,” “Disabled Parking Permit,” or “Disability.gov.”

II.     Three Aspects of Facebook’s Ad Delivery System That Violate the FHA

        41.        As previously noted, this Complaint alleges unlawful discrimination in three

aspects of Facebook’s ad delivery system: (1) Trait-Based Targeting—encouraging advertisers to

target ads by including or excluding Facebook users based on demographics, interests, or other

FHA-protected characteristics that Facebook, through its data collection and analysis, attributes

to those users; (2) “Lookalike” Targeting—designing, maintaining, applying, and making

available to advertisers a machine-learning algorithm to find users who “look like” an

advertiser’s source audience, based in part upon FHA-protected characteristics, through a

Facebook tool called “Lookalike Audience”; and (3) Delivery Determinations—designing,

maintaining, and applying machine-learning algorithms (“Personalization Algorithms”) to help

determine which subset of the advertiser’s targeted audience (the “Eligible Audience”) will

actually receive the ad (the “Actual Audience”), based in part upon FHA-protected

characteristics.

        A.         Facebook’s Trait-Based Targeting to Create an Eligible Audience
                   for an Ad

        42.        Facebook offers advertisers an interactive tool called “Ads Manager,” which

allows an advertiser to upload a proposed ad and use various Facebook-created features and tools

to ask Facebook to create an Eligible Audience for the ad.

        43.        Facebook controls the ad targeting options available to advertisers. Despite the

fact that Facebook removed some targeting options for housing ads in 2019, Facebook can still


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remove, change, or limit the ad targeting options available to advertisers, and it has done so at

times relevant to this action. It can limit or modify the ad targeting options specifically available

to advertisers seeking to deliver housing-related ads.

       44.     Using Ads Manager, the advertiser defines the ad’s Eligible Audience by using

drop-down menus generated by Facebook, which allow an advertiser to select users for the

Eligible Audience by their demographics, interests, and other characteristics, including FHA-

protected characteristics or proxies for such characteristics.

       45.     Facebook’s Ads Manager includes a “Detailed Targeting” feature. As part of

Detailed Targeting, Ads Manager prompts advertisers to search for “demographics, interests[,] or

behaviors” that will match up with users identified by Facebook. At least until 2019, Facebook

allowed housing advertisers to target ads through Ads Manager using Facebook’s “multicultural

affinity” classification of users, which was available to advertisers under the “demographics”

targeting option in Facebook’s “Detailed Targeting” feature of Ads Manager.

       46.     As a potential advertiser uses Facebook’s Ads Manager tool, Facebook provides

real-time recommendations and feedback about the Eligible Audience that will result.

       47.     Using Facebook’s curated categories, advertisers can craft the ad’s Eligible

Audience to include users that, according to Facebook, match particular “demographics,

interests[,] or behaviors.”

       48.     Facebook’s “Detailed Targeting” options also allow advertisers to exclude users

from the Eligible Audience based on “demographics, interests[,] or behaviors” that Facebook

provides to the advertisers. At least until 2019, Facebook allowed advertisers to use its Detailed

Targeting feature to exclude users from Eligible Audiences for housing-related ads based on

certain characteristics protected by the FHA.



                                                 14
        49.     These Detailed Targeting options included targeting based on Facebook’s

“multicultural affinity” classification of users. When confronted with allegations that its

“multicultural affinity” targeting allowed housing advertisers to exclude users from housing

opportunities based on their race or ethnicity, Facebook has claimed that “multicultural affinity”

is not meant to track users’ race or ethnicity, but rather their “interest” in a particular race or

ethnicity.

        50.      But Facebook itself has repeatedly described its “multicultural affinity” ad

targeting as race- or ethnicity-based. For instance, during a panel discussion in March 2016, a

Facebook executive explained that the company’s ad delivery system “ha[s] a multicultural

cluster that knows who is in the African American demographic or US Hispanic or the general

population,” and that Facebook has used this tool to help advertisers deliver targeted, separate

ads to African American, Hispanic, and White audiences.2 Similarly, in an October 28, 2016

post entitled, “Driving Relevance and Inclusion with Multicultural Marketing,” Facebook gave

an example of how Ads Manager could help advertisers specifically target ads to Black women

users on Facebook.3 More generally, in a 2015 earnings call, a Facebook executive stated that by

“[u]sing Facebook and Instagram ads you can target by congressional district, you can target by

interest, you can target by demographics or any combination of those.” (See Harry Davies &

Danny Yadron, How Facebook tracks and profits from voters in a $10bn US election, The

Guardian, Jan. 28, 2016.)




        2
        The audio of the discussion is available at https://soundcloud.com/officialsxsw/big-box-
office-marketing-films-in-a-mobile-world-sxsw-interactivefilm-2016, at 28:00–29:30.
        3
         https://www.facebook.com/business/news/driving-relevance-and-inclusion-with-
multicultural-marketing.
                                                  15
       51.     Targeting Based on Sex: Prior to 2019, Facebook provided housing-related

advertisers a toggle button that allowed them to exclude all female users or all male users from

the Eligible Audiences for ads. That feature is still available for ads that are not identified by the

advertiser or by Facebook as related to housing, credit, or employment.

               a. In January and February 2018, for example, Facebook approved requests from

                   would-be housing advertisers to include only men or only women in the

                   Eligible Audiences, thereby excluding all Facebook users of a particular sex

                   from seeing the housing ads.

               b. HUD’s investigation confirmed that Facebook allowed advertisers to exclude

                   all men or all women from the Eligible Audience for a housing ad. As part of

                   its investigation, HUD tested the “Ads Manager” tool and was able to exclude

                   women from a proposed ad audience by simply selecting “men” on the gender

                   toggle button in Ads Manager. At no point during the ad creation process did

                   Facebook alert HUD that the test ads, if posted, would violate the FHA or

                   Facebook’s anti-discrimination policies.

       52.     Targeting Based on Familial Status: Facebook approved ads in which the would-

be advertisers excluded users based on their familial status.

               a. In November 2017, for example, Facebook approved ads for rental housing

                   for which the advertisers asked Facebook to exclude users from the Eligible

                   Audience if they were classified as “Moms,” “New Moms,” “Moms of

                   preschool kids,” “Moms of grade school kids,” “Moms of high school kids,”

                   and “Parents (All).”




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               b. Facebook’s approval of these ads was widely publicized, and Facebook was

                   aware of it no later than November 29, 2017, when it claimed it had addressed

                   the issue.

               c. Nonetheless, in January and February 2018, Facebook approved housing ads

                   in which would-be housing advertisers asked Facebook to exclude from the

                   Eligible Audience those Facebook users in the following demographic groups:

                   “parents with toddlers (01-02 years),” “parents with preschoolers (03-05

                   years),” “parents with early school-age children (06-08 years),” “parents with

                   preteens (08-12),” and “parents with teenagers (13-18).”

               d. HUD’s investigation also showed that Facebook allowed advertisers to

                   exclude users based on their familial status. As part of its investigation, HUD

                   tested the “Ads Manager” tool and was able to exclude users whom Facebook

                   had classified as a member of the “Mommy” demographic. At no point

                   during the ad creation process did Facebook alert HUD that the test ads, if

                   posted, would violate the FHA or Facebook’s anti-discrimination policies.

       53.       At least prior to 2019, Facebook also allowed advertisers to exclude users from

seeing housing-related ads based on classifications that are proxies for, or closely related to,

FHA-protected characteristics.

       54.     Targeting Related to Race and National Origin: Facebook has approved ads in

which the would-be advertisers excluded users based on classifications that are proxies for, or at

least closely related to, race and national origin.

               a. As early as October 2016, Facebook approved housing-related ads for which

                   advertisers had excluded from the Eligible Audience those users whom



                                                  17
   Facebook characterized as having an “African American (US),” “Asian

   American (US),” or “Hispanic (US—Spanish dominant)” “ethnic affinity.”

b. Facebook acknowledged in November 2016 that its ad delivery system

   allowed housing advertisers to use “ethnic affinity marketing,” but claimed

   that it would disable that feature for housing-related ads.

c. In February 2017, Facebook claimed that it “would build an automated system

   to spot ads that discriminate illegally.” As part of that automated system,

   Facebook stated that it would require housing advertisers “to ‘self-certify’ that

   their ads were compliant with anti-discrimination laws.”

d. Sometime between November 2016 and November 2017, Facebook changed

   the “ethnic affinity” label to “multicultural affinity” in its Detailed Targeting

   function, but these classifications otherwise remained the same.

e. Despite Facebook’s pledges to stop the discrimination, Facebook approved

   rental housing ads in November 2017 in which the advertisers asked Facebook

   to exclude from the Eligible Audience the users whom Facebook classified as

   having one of the following “multicultural affinities”: “African American

   (US),” “Asian American (US),” “Hispanic (US—Spanish dominant),” or

   “Hispanic (US—Bilingual).”

f. HUD’s investigation found similar results. As part of its investigation, HUD

   tested the “Ads Manager” tool and was able to exclude from the Eligible

   Audience for a housing ad those users whom Facebook classified as having an

   “African American (US)” “multicultural affinity.” At no point during the ad




                                 18
                   creation process did Facebook alert HUD that the test ads, if posted, would

                   violate the FHA or Facebook’s anti-discrimination policies.

        55.    Targeting Related to Religion: Facebook has approved ads in which the would-be

advertisers excluded users based on classifications that are proxies for, or closely related to,

religion.

               a. In November 2017, for example, Facebook approved rental housing ads in

                   which the advertisers asked Facebook to exclude from the Eligible Audience

                   those users whom Facebook had classified as having an “interest” in certain

                   religions or religious topics, including “Judaism,” “Hasidic Judaism,”

                   “Orthodox Judaism,” “Conservative Judaism,” “Reform Judaism,” “The

                   Jewish Home,” “Shia Islam,” “Sunni Islam,” “Catholicism,” “Protestantism,”

                   “Bible,” “Christianity,” “Christian,” “Lutheranism,” or “Jesus.”

               b. HUD’s investigation found similar results. As part of its investigation, HUD

                   tested the “Ads Manager” tool and was able to exclude from the Eligible

                   Audience for housing ads those users whom Facebook had classified as

                   having an interest in Islam, Hinduism, and Judaism. At no point during the ad

                   creation process did Facebook alert HUD that the test ads, if posted, would

                   violate the FHA or Facebook’s anti-discrimination policies.

        56.    Targeting Related to Disability: Facebook has approved ads in which the would-

be advertisers excluded users based on classifications that are proxies for, or closely related to,

disability.

               a. In November 2017, Facebook approved rental housing ads in which the

                   advertisers asked Facebook to exclude from the Eligible Audience those users



                                                 19
                  whom Facebook had classified as having an “interest” in “Braille,” “The

                  Guide Dogs for the Blind Association,” “Guide Dogs for the Blind,”

                  “Wheelchair accessible van,” “Wheelchair ramp,” or “American Sign

                  Language.”

               b. In January and February 2018, Facebook approved housing ads in which

                  would-be housing advertisers asked Facebook to exclude from the Eligible

                  Audience those Facebook users whom Facebook classified as having an

                  “Interest in Disabled American Veteran,” “Interest in Disabled Parking

                  Permit,” or “Interest in Disability.gov.”

               c. HUD found that it was able to exclude from the Eligible Audience those

                  Facebook users whom Facebook classified as having an interest in topics such

                  as “service animal,” “special education,” or the “Autistic Self Advocacy

                  Network.” At no point during the ad creation process did Facebook alert

                  HUD that the test ads, if posted, would violate the FHA or Facebook’s anti-

                  discrimination policies.

       57.      Facebook’s approvals of these discriminatory ads were published in news

reports, were alleged in the NFHA Lawsuit, and were summarized by HUD in determining that

Facebook violated the FHA. Facebook was aware of these reports that it approved these

discriminatory ads.

       58.     In the NFHA Lawsuit, which was filed in March 2018, several civil rights

organizations alleged that Facebook’s ad delivery system violated the FHA as well as other civil

rights laws, including by creating and providing ad targeting options (such as those described

above) in connection with ads relating to housing. The parties resolved the NFHA Lawsuit with



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a settlement agreement filed with and entered by this Court in March 2019. As part of the

settlement, Facebook agreed to remove certain discriminatory targeting options for housing,

employment, and credit advertisers.

       59.     Although Facebook has made some changes to the targeting options available for

housing, credit, and employment ads, these changes have been insufficient to stop discriminatory

ad targeting. As alleged above, after Facebook had claimed that it changed its system to address

discriminatory ad targeting, would-be advertisers still were able to select targeting options

Facebook claimed it had removed. In April 2021, advertisers were able to target credit ads using

targeting options that Facebook had previously claimed were prohibited. Facebook still has no

effective mechanism to ensure that it properly identifies housing advertisements and that

targeting options based on FHA-protected characteristics are not available for such ads. Thus,

Facebook’s purported changes to date have been insufficient to stop discriminatory ad targeting,

and those changes could be easily reversed.

       60.     Facebook, through its design and its use of ad targeting categories based on user

demographics or other characteristics, has intentionally discriminated on the basis of race, color,

religion, sex, disability, familial status, and national origin. Until recently, Facebook

intentionally relied on information about, or closely related to, users’ FHA-protected

characteristics to create its ad targeting categories and also to identify users to include in or

exclude from ad audiences. Facebook encourages, facilitates, and implements discriminatory

decisions by advertisers to exclude users from Eligible Audiences. Facebook intentionally

created user categories based upon protected characteristics and acquiesced in, and was

deliberately indifferent to, discriminatory decisions by advertisers to exclude users from Eligible

Audiences using Facebook’s tools.



                                                  21
       61.     Facebook’s design and its use of ad targeting categories based on user

demographics or other characteristics have a disparate impact on the basis of FHA-protected

categories on users’ opportunities to see housing-related ads. The way Facebook designed and

uses ad targeting categories based on, or closely related to, FHA-protected characteristics in

connection with housing-related ads is neither justified by business necessity nor necessary to

achieve any substantial, legitimate, nondiscriminatory interests. Even if it were, Facebook could

achieve its interests in maximizing its revenue and providing relevant ads to users through less

discriminatory means.

       B.      Discrimination in Creating the “Lookalike Audience”

       62.     With the Lookalike Audience tool, Facebook must first create a “source audience”

through its Custom Audience option. Facebook can create a Custom Audience in one of four

ways. Specifically, the advertiser selects one among the following options:

               a. Website Custom Audience: if the advertiser has embedded a Facebook “pixel”

                   in the advertiser’s website, Facebook tracks activity on that site and can create

                   a Custom Audience of users who have, among other things, recently visited

                   the site;

               b. App Custom Audience: if the advertiser uses Facebook’s software

                   development kit to share data from the advertiser’s app with Facebook,

                   Facebook can create a Custom Audience of users who have installed the

                   advertiser’s app or engaged with it in a particular way;

               c. Personal Identifier Custom Audience: the advertiser can send to Facebook

                   personally identifiable information, such as email addresses, phone numbers,




                                                22
                   or home addresses, of those it would like to target ads to, to the extent they are

                   users of Facebook platforms;

                d. Engagement Custom Audience: Facebook can create a Custom Audience of

                   users who have engaged with the advertiser’s content on Facebook or Instagram.

Facebook’s creation of a Custom Audience using the first three methods requires an additional

step. Facebook must match the information used to identify the Custom Audience—the data

Facebook collects from its pixel (for a Website Custom Audience), from the data individuals

provide to the advertiser’s app (for an App Custom Audience), or from the personally identifiable

information provided by the advertiser (for a Personal Identifier Custom Audience)—against the

data Facebook has collected about the users of Facebook platforms to identify the users who

match the criteria for the Custom Audience. Once the advertiser selects one of these four options,

that pool of Facebook users forms the source audience.

       63.      Next, the advertiser can then direct Facebook to either deliver the housing ad

exclusively to the users in the source audience, or deliver the housing ad to users who “look like”

the source audience.

       64.      To identify users who most “look like” the source audience, Facebook employs a

machine-learning algorithm. As Facebook explains: “A lookalike audience uses an existing

Custom Audience you select for its source audience. To create a lookalike audience, our system

leverages information such as demographics, interests and behaviors from your source audience

to find new people who share similar qualities. When you use a lookalike audience, your ad is

delivered to that audience of people who are similar to (or ‘look like’) your existing customers.”4




       4
           https://www.facebook.com/business/help/164749007013531.


                                                23
        65.     Typically, the “Lookalike Audience” is significantly larger than the source

audience provided by the advertiser. For example, an advertiser might provide to Facebook the

personally identifiable information of its 100 best customers to serve as the source audience, and

Facebook would use its machine-learning algorithm to analyze the source audience with the

objective of creating a Lookalike Audience of many more Facebook users who would be

potential targets to receive the ad.

        66.     Facebook designed the machine-learning algorithm that it uses to create

Lookalike Audiences. Facebook can choose what data it gives the algorithm in order to analyze

the advertiser’s source audience and to seek out the additional Facebook users who “look like”

the source audience. In a 2014 earnings call, a Facebook executive explained that the purpose of

the Lookalike Audience tool was to identify “customers who share characteristics, age,

demo[graphic]s, likes, interests with current customers.”

        67.     Facebook acknowledged in 2018 and 2019 that the Lookalike Audience tool used

the demographics of its users—including race, sex, religions, age, zip codes, and Facebook

Group membership, among other categories—in selecting the Lookalike Audiences to whom to

deliver ads.

        68.     As part of the NFHA settlement, Facebook agreed that by September 2019 it

would no longer consider users’ sex, religious views, Facebook Group membership, age, and zip

code as part of its Lookalike Audience tool for housing, credit, and employment ads. For these

types of ads, Facebook agreed to design a new version of the “Lookalike Audience” tool, now

called “Special Ad Audience.” Facebook claimed that its Special Ad Audience tool would “not

consider age, gender, relationship status, religious views, school, political views, interested in

[sic], or zip code.”



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       69.      Despite Facebook’s pledge, testing has revealed that the “Special Ad Audience”

tool generated audiences based, at least in part, on sex for housing, credit, and employment ads.

The testing showed, for example, that where an advertiser included only men in its source

audience, the group of users to whom the old version of the Lookalike Audience tool delivered

the ad was 99% male. The results were almost as stark when the advertiser used the new Special

Ad Audience tool for its all-male source audience. Applying that new tool, Facebook still

delivered the ad to an audience that was more than 95% male. This result occurred despite

Facebook’s representation that its Special Ad Audience tool does not use age, gender, and other

demographics, behaviors, or interests. Facebook is aware of these results, which were published

in an academic paper in December 2019.

       70.     Facebook was aware that removing certain variables from its algorithms likely

would not correct the discriminatory ad delivery resulting from Facebook’s Lookalike Audience

tool. Specifically, Facebook employees acknowledged in 2018 that removing protected

characteristics as inputs to Facebook’s algorithm was insufficient, because its algorithm would

nevertheless skew delivery along the lines of protected characteristics.

       71.     Facebook, through its design and its use of the Lookalike Audience and Special

Ad Audience tools, intentionally discriminates based upon FHA-protected characteristics such as

sex. Before 2019, Facebook elicited among other things the sex of its users and input that

information into the Lookalike Audience tool. After 2019, while Facebook no longer directly

inputs this information into its Special Ad Audience and Lookalike Audience tools, Facebook

continues to rely upon its vast trove of user data to create the audiences for housing ads. FHA-

protected characteristics are related to and encoded within this user data.




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        72.      Facebook’s design and use of the Lookalike Audience and Special Ad Audience

tools have an unlawful disparate impact on users’ opportunity to see housing-related ads, at least

based on sex. The way Facebook designed and uses these tools in connection with housing-

related ads is neither justified by business necessity nor necessary to achieve any substantial,

legitimate, nondiscriminatory interests. Even if it were, Facebook could achieve its interests in

maximizing its revenue and providing relevant ads to users through less discriminatory means.

        C.       Discriminating Through the Design and Use of the Personalization Algorithms

        73.      After helping the advertiser create the Eligible Audience for an ad, Facebook uses

the Personalization Algorithms, i.e., machine-learning algorithms, to help determine which

subset of users in the advertiser’s Eligible Audience will receive the ad.

        74.      To determine which ad to deliver to a user at a given time, Facebook holds an

automated auction by combining, for each ad for which a user is in the Eligible Audience, (a) the

likelihood the user will engage with that ad as calculated by the Personalization Algorithms

(what Facebook calls the user’s “estimated action rate”)5; (b) that advertiser’s bid; and (c) what

Facebook calls “ad quality,” which includes a personalization component from some of the

Personalization Algorithms. The ad with the highest total wins the auction and is delivered to the

user.

        75.      Facebook has explained that the Personalization Algorithms “use[] an ad auction

and machine learning to determine where, when and to whom we show your ads. These

processes work together to maximize value for both people and businesses.”6 Facebook also




        5
            https://www.facebook.com/business/help/430291176997542.
        6
            https://www.facebook.com/business/help/1636814289727946.


                                                 26
explains that the Personalization Algorithms and its ad delivery system overall become more

efficient at delivering ads the more an ad is shown to users. Id. In this way, Facebook

“determine[s] the best ad to show a [Facebook user] at a given point in time.”7

       76.      Facebook uses the Personalization Algorithms to help determine whether a

particular group of users will see an ad. Facebook then steers ads away from certain users that

the Personalization Algorithms predict are unlikely to find an ad “relevant,” and conversely

steers an ad toward other users who are more likely to find the ad “relevant.”

       77.      Facebook has designed the Personalization Algorithms to match ads to users

based on the algorithms’ predictions about which users will find the ad relevant and whether

those users are likely to interact with the ad in the manner desired by the advertiser—for

example, by clicking a link in the ad, purchasing the advertised product, or sharing the ad with

friends. Based upon these predictions, Facebook’s ad delivery system steers ads that Facebook

predicts to be most relevant to a user toward that user; and steers ads that Facebook predicts to be

less relevant to a user away from that user. In this way, Facebook excludes certain users—all of

whom are within the advertiser-defined Eligible Audience for the ad—from seeing that ad.

Facebook has explained that “[t]argeting broadly essentially means that [an advertiser is] mostly

relying on [Facebook’s] delivery system to find the best people to show [an] ad to.”8 Using these

predictions, Facebook delivers an ad to users until the advertiser’s budget is exhausted.

       78.      Facebook intentionally makes available to its Personalization Algorithms all of

the data that Facebook has gathered about its users. The user data that Facebook makes available



       7
           https://www.facebook.com/business/help/430291176997542.
       8
           https://www.facebook.com/business/help/308474373366888.


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to its algorithms includes information not only about the user, but also the user’s Facebook

friends and those friends’ user data.

       79.     This user data includes characteristics that are protected by the Fair Housing Act,

including race, color, religion, sex, disability, familial status, and national origin. In 2018, for

example, Facebook acknowledged that race and sex were among the variables that the company

used in its Personalization Algorithms. Facebook knows its users’ sex because users are required

to disclose their sex (or preferred gender pronouns) as a condition of using the website.

Facebook knows the religion and familial status of those users who voluntarily provide that

information in their Facebook profiles. Facebook also knows the race or color of users based on

its massive trove of user data, and encourages users to create an avatar showing skin color, hair

type, and shape of the eyes, nose, and lips. The user data that Facebook makes available to the

algorithms includes users’ membership in Facebook Groups, some of which have names

indicating their members’ race, color, religion, sex, disability, familial status, or national origin.

See Paragraph 26, supra (citing examples of such groups, including “Single Black Mothers,”

“United Latino Professionals,” “Jewish Americans,” “Mothers of Young Children,” and “Parents

in Wheelchairs”).

       80.     By making available to the Personalization Algorithms the type of information

listed in Paragraph 79, Facebook intentionally designed an ad delivery process that allows its

algorithms to take FHA-protected characteristics into account to predict which users will be most

likely to click on, tap, or otherwise engage with a housing ad, and in determining which users

will receive ads.

       81.     As part of using the Personalization Algorithms to make ad delivery decisions,

Facebook makes available to the algorithms the same data that underlies Facebook’s



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classification of users for ad targeting. For example, Facebook provides the Personalization

Algorithms with data underlying Facebook’s classification of users’ multicultural affinity

(closely related to race and national origin); “interest” in particular religions (closely related to a

user’s religion); and “interest” in various disability-related topics such as disability

organizations, physical accessibility issues, and devices or mechanisms commonly used by

people with disabilities (closely related to a user’s disability). Thus, Facebook’s design of and

reliance on its Personalization Algorithms allow consideration of data reflecting characteristics

that are proxies for, closely related to, or direct descriptors of FHA-protected characteristics.

        82.     The user data that Facebook makes available to its Personalization Algorithms

contains pre-2019 information about users’ engagement with housing ads. In other words, the

Personalization Algorithms have access to user data from the time period before the NFHA

settlement, a time period when Facebook created and offered tools and targeting categories that

expressly reflected FHA-protected characteristics or their proxies. Discriminatorily excluding

someone from seeing housing ads diminishes that person’s opportunity to demonstrate interest in

such ads, for the simple reason that users cannot click on ads they never receive. As a result,

Facebook’s Personalization Algorithms likely will underestimate previously excluded users’

interest in housing ads based on those users’ lack of pre-2019 clicks, reducing the likelihood that

those users would receive housing ads even after the changes that Facebook claims to have made

in 2019. At the same time, other users who were not excluded were able to demonstrate an

interest by clicking on the ads they received, thus increasing the likelihood that the

Personalization Algorithms would identify those users as interested in housing ads after 2019.

The information that Facebook feeds into its Personalization Algorithms is thus tainted by the

pre-2019 discrimination.



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       83.     The settlement of the NFHA Lawsuit did not require Facebook to alter its ad

delivery system.

       84.     In 2018, Facebook recognized that the company’s use of the Personalization

Algorithms involved disparate treatment and that both the Personalization Algorithms and

Lookalike Audience tool raised disparate impact concerns. Facebook was aware that even if it

removed protected characteristics from advertiser targeting options and the Lookalike Audience

tool, Facebook’s Personalization Algorithms would simply reintroduce this bias in delivering the

ads.

       85.     Testing has demonstrated that, even when advertisers do not employ

discriminatory targeting options, Facebook’s Personalization Algorithms nonetheless steer

certain housing ads disproportionately to White users and away from Black users, and vice versa.

       86.      For example, researchers who conducted testing of Facebook’s Personalization

Algorithms found, in the course of their testing, that, as a general matter, housing ads featuring

an image of a Black family were less likely to be delivered to White users than were identical ads

featuring an image of a White family. That disparity occurred even though the researchers did

not try to target the ads by race or any other characteristics.

       87.     The United States has conducted extensive testing of Facebook’s Personalization

Algorithms in a number of housing markets. That testing showed that Facebook’s

Personalization Algorithms steer certain housing ads disproportionately away from Black users

and toward similarly situated White users.

       88.     In one set of tests, the United States compared Facebook’s delivery of real,

randomly selected ads for single-family homes located in two adjacent towns in the Southern




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District of New York that have different racial makeups and housing prices. More than 60% of

residents in one town were African-American, while the other town was more than 90% White.

       89.     The United States placed more than 150 ads directed to an audience of users in

the Southern District who lived near (but not in) these towns. In constructing the Eligible

Audience, the United States included equal numbers of Black and White residents who were

similarly situated as to income, sex, and age. Facebook, using its Personalization Algorithms to

predict which users would be interested in the ads, delivered these ads more than 80,000 times.

       90.     Though the users in the Eligible Audience were similarly situated with respect to

income, sex, age, and location, Facebook steered the ads for housing opportunities in the

majority-White town disproportionately toward White users and away from Black users;

conversely, Facebook steered the ads for housing opportunities in the majority-Black town

disproportionately toward Black users and away from White users. The steering was substantial

and highly statistically significant. The United States conducted additional testing that further

demonstrated that the racial disparities in the ad delivery were not driven by users’ specific,

expressed interest in living in one of the two towns.

       91.     By steering ads for housing in majority-White neighborhoods disproportionately

to White users and steering ads for housing in majority-Black neighborhoods disproportionately

to Black users, Facebook’s Personalization Algorithms actually and predictably reinforce or

perpetuate segregated housing patterns because of race.

       92.     The United States also conducted similar and complementary testing in

neighborhoods outside the Southern District of New York. This testing, which controlled for

sex, age, and income, showed statistically significant racial disparities in Facebook’s ad delivery.

       93.     Facebook’s use of the Personalization Algorithms to help determine which users



                                                 31
receive housing-related ads intentionally discriminates based on FHA-protected characteristics.

Facebook accomplishes this discrimination by:

                   a. inputting into its Personalization Algorithms a massive amount of user

                        data that relates to users’ FHA-protected characteristics;

                   b. failing to implement technical measures to prevent its Personalization

                        Algorithms from making determinations based, in part, on FHA-protected

                        characteristics;

                   c. failing to correct the output of its Personalization Algorithms for decision-

                        making on the basis of FHA-protected characteristics;

                   d. training its Personalization Algorithms on user data tainted by expressly

                        discriminatory targeting options previously offered by Facebook to

                        housing advertisers; and

                   e. failing to remove or cure historical user data tainted by discriminatory ad

                        delivery.

       94.     Facebook’s design and implementation of its Personalization Algorithms have an

unlawful disparate impact on users’ opportunity to see housing-related ads, at least based on

race. The way Facebook designed and uses its Personalization Algorithms in connection with

housing-related ads—including insufficient limits on the types of data the Personalization

Algorithms can or should consider, and the insufficient supervision or corrections of the

algorithms’ actions—is neither justified by business necessity nor necessary to achieve any

substantial, legitimate, nondiscriminatory interests. Even if it were, Facebook could achieve its

interests in maximizing its revenue and providing relevant ads to users through less

discriminatory means.



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III.   HUD’s Investigation and Charge of Discrimination

       95.       HUD’s Office of Fair Housing and Equal Opportunity opened an investigation

into Facebook’s ad delivery system.

       96.       On August 13, 2018, the Assistant Secretary for Fair Housing and Equal

Opportunity filed a timely administrative complaint with HUD alleging that Facebook’s ad

delivery system violated the FHA.

       97.       HUD investigated the administrative complaint in accordance with 42 U.S.C.

§ 3610(a)-(b).

       98.       Based on HUD’s investigation of the administrative complaint, the Secretary

determined that there was reasonable cause to believe that Facebook’s ad delivery system

discriminates on the basis of protected characteristics in violation of the FHA.

       99.       On March 28, 2019, the Secretary issued a Charge of Discrimination under 42

U.S.C. § 3610(g)(2), charging Facebook with engaging in a discriminatory housing practice in

violation of the FHA.

       100.      On April 16, 2019, Facebook timely elected to have the charge decided in federal

district court in accordance with 42 U.S.C. § 3612(a).

       101.      Facebook agreed to toll the statute of limitations in which to file a Complaint, to

June 21, 2022.



                      COUNT I – DISCRIMINATION ON THE BASIS OF
                           PROTECTED CHARACTERISTICS

       102.      The United States incorporates all prior paragraphs of the Complaint as if fully set

forth herein.

       103.      Facebook’s actions, policies, and practices, as alleged herein, constitute:

                                                  33
a. Making dwellings unavailable to persons because of race, color, religion, sex,

   disability, familial status, or national origin in violation of the Fair Housing

   Act, 42 U.S.C. § 3604(a) and (f), and its implementing regulations, 24 C.F.R.

   §§ 100.50(b)(3)-(5) and 100.70(a).

b. Making, printing, or publishing, or causing to be made, printed, or published,

   advertisements with respect to the sale or rental of dwellings that indicate a

   preference, limitation, or discrimination based on race, color, religion, sex,

   disability, familial status, and national origin, in violation of the Fair Housing

   Act, 42 U.S.C. § 3604(c), and its implementing regulations, 24 C.F.R. §§

   100.50(b)(4), 100.70(a), and 100.75(a)-(c). Facebook, through each of the

   three challenged aspects of its ad targeting and delivery system, targets and

   delivers housing-related ads to some users while depriving other users based

   on FHA-protected characteristics or their proxies. Those acts and practices

   constitute “[s]electing media or locations for advertising the sale or rental of

   dwellings which deny particular segments of the housing market information

   about housing opportunities because of race, color, religion, sex, handicap,

   familial status, or national origin,” as well as “[r]efusing to publish advertising

   for the sale or rental of dwellings . . . because of race, color, religion, sex,

   handicap, familial status, or national origin.” 24 C.F.R. § 100.75 (HUD

   regulation implementing FHA).

c. Representing to a person because of race, color, religion, sex, disability,

   familial status, or national origin that a dwelling “is not available for

   inspection, sale, or rental when such dwelling is in fact so available,” in



                                  34
            violation of the Fair Housing Act, 42 U.S.C. § 3604(d), and its implementing

            regulations, 24 C.F.R. §§ 100.50(b)(5), 100.70(a), and 100.80(a)-(b). Such

            unlawful conduct by Facebook, through its ad delivery system, includes

            “[l]imiting information, by word or conduct, regarding suitably priced

            dwellings available for inspection, sale or rental, because of race, color,

            religion, sex, handicap, familial status, or national origin.” 24 C.F.R. §

            100.80(b)(4) (HUD regulation implementing FHA).

104.   In committing the violations alleged in paragraph 103, Facebook:

       a.   Intentionally discriminated on the basis of race, color, religion, sex, disability,

            familial status, and national origin by encouraging, facilitating, and knowingly

            implementing the intentionally discriminatory decisions of advertisers to

            exclude users from the Eligible Audience on the basis of FHA-protected

            characteristics;

       b. Acted with deliberate indifference to the intentionally discriminatory

            decisions of advertisers to exclude users from the Eligible Audience based on

            their race, color, religion, sex, disability, familial status, and/or national

            origin;

       c. Intentionally made the following data available to its Personalization

            Algorithms for use in determining ad delivery: (1) information about

            Facebook users’ race, color, religion, sex, disability, familial status, and/or

            national origin, and (2) data about Facebook users that served as a proxy for,

            or was closely related to, those FHA-protected categories;




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d. Implemented its ad delivery system in a manner that has disproportionately

   excluded certain Facebook users from receiving housing ads based on FHA-

   protected characteristics;

e. Implemented its ad delivery system in a manner that actually or predictably

   creates, increases, reinforces, or perpetuates segregated housing patterns

   because of FHA-protected characteristics; and

f. Acted with deliberate indifference to the racially disparate impact and

   segregative effect caused by its Personalization Algorithms, despite knowing

   that machine-learning tools, including its algorithms, at least are susceptible to

   unlawful actions or outcomes and despite knowing that the data Facebook

   made available to the algorithms contained FHA-protected characteristics or

   their proxies and was tainted by intentional discrimination that occurred prior

   to September 2019.




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                COUNT II – PATTERN OR PRACTICE OF DISCRIMINATION
                  AND A DENIAL OF RIGHTS TO A GROUP OF PERSONS

       105.      The United States incorporates all prior paragraphs of the Complaint as if fully set

forth herein.

       106.      Persons who have been victims of Facebook’s discriminatory policies and

practices are aggrieved as defined in 42 U.S.C. § 3602(i), and may have suffered damages as a

result of Facebook’s conduct in violation of the Fair Housing Act, as described above.

       107.      The conduct of Facebook as described above constitutes:

                 A.     A pattern or practice of resistance to the full enjoyment of rights secured

                 by the Fair Housing Act, 42 U.S.C. § 3614(a); and/or

                 B.     Unlawful discrimination and a denial of rights granted by the Fair Housing

                 Act to a group of persons that raises an issue of general public importance within

                 the meaning of 42 U.S.C. § 3614(a).



                                     REQUEST FOR RELIEF

                 WHEREFORE, the United States requests that the Court enter an order that:

                 1.     Declares that the conduct of Facebook violates the Fair Housing Act;

                 2.     Enjoins Facebook, its agents, employees, successors, and all other persons

in active concert or participation with it from:

                        a.      Discriminating on the basis of FHA-protected characteristics in

                 connection with the delivery of housing advertisements;

                        b.      Failing or refusing to take such affirmative steps as may be

                 necessary to restore, as nearly as practicable, the victims of Facebook’s unlawful




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               practices to the position they would be in but for Facebook’s discriminatory

               conduct;

                       c.     Failing or refusing to take such affirmative steps as may be

               necessary to prevent the recurrence of any discriminatory conduct regarding the

               delivery of housing ads in the future and to eliminate, to the extent practicable, the

               effects of Facebook’s unlawful practices; and

                       d.     Discriminating through the adoption of policies and procedures

               that do not ensure all segments of Facebook’s users are served housing ads

               without regard to FHA-prohibited characteristics;

               3.      Awards monetary damages against Facebook in accordance with 42

U.S.C. § 3614(d)(1)(B);

               4.      Assesses a civil penalty against Facebook in an amount authorized by 42

U.S.C. § 3614(d)(1)(C), in order to vindicate the public interest; and

               5.      Awards the United States any additional relief as the interests of justice

may require.

               The United States demands trial by jury.




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Dated:       New York, New York
             June 21, 2022



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